Case: 23-2203    Document: 30     Page: 1    Filed: 08/26/2024




           NOTE: This order is nonprecedential.


   United States Court of Appeals
       for the Federal Circuit
                  ______________________

                    PAMELA MELVIN,
                    Claimant-Appellant

                             v.

   DENIS MCDONOUGH, Secretary of Veterans Af-
                     fairs,
              Respondent-Appellee
             ______________________

                        2023-2203
                  ______________________

    Appeal from the United States Court of Appeals for
 Veterans Claims in No. 20-1556, Chief Judge Margaret C.
 Bartley, Judge Michael P. Allen, and Judge Scott Laurer.
                 ______________________

                      ON MOTION
                  ______________________

 PER CURIAM.
                         ORDER
     After the court granted Pamela Melvin 268 days of ex-
 tensions for filing her opening brief, the court ordered Ms.
 Melvin to file her brief by August 5, 2024 or the appeal
 would be dismissed. She has not filed the brief; instead,
 she moves for a refund of the docketing fee and sanctions
Case: 23-2203    Document: 30      Page: 2   Filed: 08/26/2024




 2                                    MELVIN v. MCDONOUGH




 against the Secretary of Veterans Affairs. ECF No. 28 at
 46; see also id. at 4 (arguing for “monetary sanction”).
     Upon consideration thereof,
     IT IS ORDERED THAT:
     (1) ECF No. 28 is denied. Any request for a refund of
 the docketing fee should be made to the United States
 Court of Appeals for Veterans Claims.
     (2) The appeal is dismissed for failure to prosecute.
     (3) Any other pending motion is denied as moot.
                                              FOR THE COURT




 August 26, 2024
     Date
